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 5
     Attorney for Defendant
     HUANCHANG MA
 6
                               IN THE UNITED STATES DISTRICT COURT
 7
                             FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                        )       No. CR-S-11-166 MCE
                                                      )
                                                      )
10             Plaintiff,                             )       STIPULATION REGARDING
11
                                                      )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
                                                      )       FINDINGS
12
     HUANCHANG MA,                                    )
                                                      )       Date: October 24, 2013
13
                                                      )       Time: 9:00 a.m.
               Defendant.                             )       Judge: Honorable Morrison C. England, Jr.
14
                                                      )
                                                      )
15
                                                      )
16
               The United States of America through its undersigned counsel, Todd D. Leras, Assistant
17
     United States Attorney, together with counsel for defendant Huanchang Ma, John R. Manning,
18

19   Esq., hereby stipulate the following:

20        1. By previous order, this matter was set for status conference on September 12, 2013.
21
          2. By this stipulation, defendant now moves to continue status conference until October 24,
22
     2013 and to exclude time between September 12, 2013 and October 24, 2013 under the Local
23

24
     Code T-4 (to allow defense counsel time to prepare).

25        3.   The parties agree and stipulate, and request the Court find the following:
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               a. This case is one in a series of cases developed from a lengthy DEA/Elk Grove
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                   PD/Sac. SO investigation into “grow houses” in the Elk Grove area. Several
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        individuals have been charged. Many, if not all the defendants a part of this
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 2      investigation are non English speakers and require the services of an interpreter to

 3      communicated with. The widespread need for Cantonese/Mandarin interpreters in
 4
        this case, the companion cases(s), and in general, has made scheduling meetings very
 5
        difficult. However, as this case is winding up, scheduling has become less difficult.
 6

 7
        To that end, the Defense has provided the Government with additional discovery and

 8      the Government needs to time to review the material and evaluate their next step.
 9   b. The Defense has proffered a proposed resolution to the Government and the
10
        Government needs additional time to review the settlement proposal. Additional
11
        meetings between counsel for Mr. Ma and the Government are necessary to discuss
12

13      the proposed resolution.

14   c. Counsel for Mr. Ma needs additional time to review material with Mr. Ma which
15
        includes information that likely impacts his (Mr. Ma's) potential sentence regardless
16
        of whether the case resolves by trial or by negotiated plea as anticipated by the
17
        parties.
18

19   d. The Government does not object to the continuance.

20   e. Based on the above-stated findings, the ends of justice served by granting the
21
        requested continuance outweigh the best interests of the public and the defendant in a
22
        speedy trial within the original date prescribed by the Speedy Trial Act.
23

24
     f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code

25      Section 3161(h)(7)(A) within which trial must commence, the time period of
26      September 12, 2013 to October 24, 2013, inclusive, is deemed excludable pursuant to
27
        18 United States Code Section 3161(h)(7)(A) ) and (B)(iv), corresponding to Local
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                Code T-4 because it results from a continuance granted by the Court at defendant’s
 1

 2              request on the basis of the Court’s finding that the ends of justice served by taking

 3              such action outweigh the best interest of the public and the defendant in a speedy
 4
                trial.
 5
       4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
 6

 7
            Speedy Trial Act dictate that additional time periods are excludable from the period within

 8          which a trial must commence.
 9
     IT IS SO STIPULATED.
10

11
     Dated: September 10, 2013                                     /s/ John R. Manning
12                                                                JOHN R. MANNING
                                                                  Attorney for Defendant
13
                                                                  Huanchang Ma
14

15   Dated: September 10, 2013                                    Benjamin B. Wagner
                                                                  United States Attorney
16

17                                                                by:/s/Todd D. Leras
                                                                  TODD D. LERAS
18                                                                Assistant U.S. Attorney
19

20                                                ORDER
21
            IT IS SO ORDERED.
22
     Dated: September 12, 2013
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